        Case: 1:14-cv-07816 Document #: 21 Filed: 03/06/15 Page 1 of 2 PageID #:55



                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

Adana R. Finch,

                        Plaintiff,
                                                    No. 1:14-cv-07816
           v.
                                                    Honorable John Robert Blakey
Real Page Inc. ,                                    Magistrate Judge Geraldine Brown

                        Defendant.


                                            NOTICE OF MOTION

To:        Lori Finkelston 1
           Vice-President, Associate General Counsel
           RealPage, Inc.
           4000 International Parkway
           Carrollton, Texas 75007-1913

        PLEASE TAKE NOTICE that on March 12, 2015 at 9:45 a.m., Plaintiff shall appear
before the Honorable John Robert Blakey in Room 2201 of the United States District Court for
the Northern District of Illinois, Eastern Division, and then and there present Plaintiff’s Second
Agreed Motion to Extend Time to Answer or Otherwise Plead, a copy of which is attached
hereto and served upon you.

                                                     Respectfully submitted,



                                                     By:    /s/ Dana S. Connell
                                                           Attorneys for Plaintiff
                                                           Adana R. Finch

Dana S. Connell ARDC# 06183652
O. Hanna Badmus ARDC# 6308524
LITTLER MENDELSON, P.C.
321 North Clark Street, Suite 1000
Chicago, IL 60654
Telephone: 312.372.5520

Dated: March 6, 2015


1
    Appearance not filed, notifying by agreement.
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                                        CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2015, I electronically filed the foregoing Notice of
Motion and Second Agreed Motion to Extend Time to Answer or Otherwise Plead with the Clerk
of the U.S. District Court using the CM/ECF system. Notification of this filing will be sent via
U.S. Mail, postage prepaid, before the hour of 5:00 p.m. on March 6, 2015:

           Lori Finkelston 2
           Vice-President, Associate General Counsel
           RealPage, Inc.
           4000 International Parkway
           Carrollton, Texas 75007-1913



                                                    By:    /s/ Dana S. Connell
                                                           Dana S. Connell ARDC# 06183652
                                                           O. Hanna Badmus ARDC# 6308524
                                                           LITTLER MENDELSON, P.C.
                                                           A Professional Corporation
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                                                           Chicago, IL 60654
                                                           Telephone: 312.372.5520
                                                           Facsimile: 312.372.7880



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2
    Appearance not filed, notifying by agreement.


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